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11
                          UNITED STATES DISTRICT COURT
12                       NORTHERN DISTRICT OF CALIFORNIA
13                              OAKLAND DIVISION

14
     EPIC GAMES, INC.,                                Case No.: 4:20-CV-05640-YGR-TSH
15                                                    Judge: Hon. Yvonne Gonzalez Rogers
                 Plaintiff, Counter-Defendant,
                                                      Hearing Date: April 30, 2024
16
     v.                                               Hearing Time: 2:00 p.m.
17                                                    Courtroom: 1, 4th Floor
     APPLE INC.,
18
                   Defendant, Counterclaimant.        PROPOSED BRIEF OF AMICUS
19                                                    CURIAE DIGITAL CONTENT NEXT
20                                                    IN SUPPORT OF EPIC GAMES,
                                                      INC.’S MOTION TO ENFORCE
21                                                    INJUNCTION
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                   Br. Of Amicus Curiae DCN In Supp. of Epic’s Mot. To Enforce Injunction
                                                     Case No. 4:20-CV-05640-YGR-TSH
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1                 Digital Content Next (“DCN”) hereby submits this brief as Amicus Curiae in
2    support of Plaintiff Epic Games, Inc.’s (“Epic”) March 13, 2024 Motion to Enforce
3    Injunction, ECF No. 897 (the “Motion”). 1
4                              INTEREST OF AMICUS CURIAE
5                 Founded in 2001, DCN is the only trade organization dedicated to serving the
6    unique and diverse needs of high-quality digital content companies that enjoy trusted,
7    direct relationships with consumers and advertisers. DCN’s members 2 include many of the
8    most trusted and well-respected publishing brands in the United States. Together, DCN’s
9    members have an unduplicated audience of 259 million unique visitors and reach 95
10   percent of the U.S. online population.
11                DCN’s member list, the corporate logos of which are displayed on the next
12   page, is a veritable “who’s who” of the American media and publishing industry:
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           DCN is a non-profit, tax-exempt business association organized under Section
23   501(c)(6) of the Internal Revenue Code and based in New York, New York. DCN has no
24   parent corporation, and no publicly held corporation has 10% or greater ownership in DCN.
     DCN affirms that no counsel for a party authored this brief in whole or in part, and no
25   person other than DCN contributed any money to fund its preparation or submission.
26   2
         See https://digitalcontentnext.org/membership/members/ for a listing of current
27   DCN members.
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1                         DCN Member Organizations
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1                  Consumers seek out DCN member brands because they value trustworthy
2    information that has gone through a rigorous editorial process, and publishers are held to
3    account for the quality and trustworthiness of their news and entertainment by audiences
4    who have high expectations. In light of Defendant Apple Inc.’s (“Apple”) dominant market
5    position in the United States, DCN’s member companies must work extensively with and
6    through Apple to promote and distribute their original content and apps, engage with
7    existing subscribers and audiences, and find new audiences.
8                  DCN and its members are directly impacted by Apple’s App Store Review
9    Guidelines (the “Guidelines”) and have a substantial interest in ensuring that the Court’s
10   September 10, 2021 injunction against Apple is enforced. DCN’s members have been
11   subject to Apple’s anti-steering restrictions for years, and Apple’s anticompetitive behavior
12   injures not only DCN and its members, but also the entire American public, which relies
13   on DCN’s member organizations for news and entertainment. DCN therefore has a unique
14   perspective that can aid the Court in its resolution of Plaintiff’s Motion to Enforce
15   Injunction.
16                 Apple’s late, legendary leader Steve Jobs was often said to have a “reality
17   distortion field” that kicked in whenever he committed his team to overcoming an obstacle.
18   Apple, through its so-called “Notice of Compliance”, Dkt. 871, is engaging in reality
19   distortion on the grandest possible scale. Apple has done everything in its power to thwart
20   and evade the injunction entered by this Court, and its “Notice of Compliance” brazenly
21   flouts Apple’s noncompliance with this Court’s Orders. DCN submits this brief to urge
22   the Court to see through Apple’s “reality distortion field” and enforce its injunction.
23             RELEVANT BACKGROUND AND PROCEDURAL HISTORY
24                 On September 10, 2021, following a three-week bench trial, this Court ruled
25   that “Apple’s conduct in enforcing anti-steering restrictions is anticompetitive” and, thus,
26   a violation of California’s Unfair Competition Law (“UCL”). ECF No. 812 at 180 (the
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1    “Rule 52 Order”). At the time of trial, Apple’s anti-steering provisions were in Sections
2    3.1.1 and 3.1.3 of the Guidelines and prohibited developers from (i) including “buttons,
3    external links, or other calls to action” within their apps that directed customers to
4    purchasing mechanisms, other than Apple’s proprietary In-App Purchase programming
5    interface (“IAP”), that could be used to purchase content to consume within their iOS apps
6    or (ii) “encourag[ing] users to use a purchasing method other than [IAP]” either “within
7    the app or through communications sent to points of contact obtained from account
8    registrations within the app (like email or text).” PX-2790, ECF No. 871-4, Ex. 11 §§ 3.1.1,
9    3.1.3. Apple designed these restrictions to ensure that iOS users’ purchases of in-app
10   content took place through Apple’s IAP, subject to Apple’s commissions of up to 30%—
11   rates that the Court found to be “excessive” and “unjustified.” Epic Games, Inc. v. Apple
12   Inc., 559 F. Supp. 3d 898, 997, 1054 (N.D. Cal. 2021).
13                Also on September 10, 2021, the Court entered a Permanent Injunction
14   enjoining Apple from prohibiting developers from including in their iOS apps “buttons,
15   external links, or other calls to action” that direct customers to alternative purchasing
16   methods outside of the app. ECF No. 813 ¶ 1 (the “Injunction” and, together with the Rule
17   52 Order, the “Orders”). This remedy was appropriate, the Court held, because Apple’s
18   anti-steering provisions “can be severed without any impact on the integrity of [Apple’s]
19   ecosystem”; that is, Apple’s interests in protecting iOS users’ safety and privacy while
20   using iOS apps “[would] not be significantly impacted by the increase of information to
21   and choice for consumers.” Epic Games, 559 F. Supp. 3d at 1055, 1057. On April 24, 2023,
22   the United States Court of Appeals for the Ninth Circuit affirmed the Court’s Orders. See
23   Epic Games, Inc. v. Apple, Inc., 67 F.4th 946, 1002–03 (9th Cir. 2023). On January 16,
24   2024, the United States Supreme Court denied Apple’s petition for a writ of certiorari. See
25   ECF No. 871-4, Ex. 20. Accordingly, this Court’s Orders are now enforceable.
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1                 On January 16, 2024, in a purported effort to comply with the Court’s Orders,
2    Apple filed a Notice of Compliance announcing Apple’s approach to complying with this
3    Court’s orders (the “Apple Plan”). See ECF No. 871 (the “Notice of Compliance” or
4    “Notice”). The Notice is—probably deliberately—a lengthy and onerous document, but
5    many of its provisions can be boiled down to three mechanisms designed to chill
6    competition and ensure that Apple can continue to abuse its dominant position to extract
7    anticompetitively high prices for its services. This brief colloquially describes those three
8    mechanisms, which are described below, as (1) the Gauntlet, (2) the Tax, and (3) the
9    Scare.
10   The “Gauntlet”
11                The Gauntlet—which takes its name from the gauntlet Apple would force
12   developers to run before even becoming eligible to use external payment options—is
13   described in Apple’s Notice euphemistically as the StoreKit External Purchase Link
14   Entitlement (US). This provision purportedly allows developers to apply for permission to
15   include within their apps a link to an out-of-app purchase mechanism (“External Links” or
16   “Links”). Id. at 5. But, as Apple’s Notice describes in a lengthy disquisition covering nine
17   pages and 2,900 words, the process includes dozens of requirements and limitations to
18   which developers must adhere to be eligible to include an external purchase link within
19   their apps. Id. at 6–15. Apple’s requirements include provisions specifically designed to
20   make External Links look inconspicuous and untrustworthy (and therefore unlikely to be
21   used), including:
22            • Prohibiting developers from placing payment links near the purchase flow—
23                exactly where an External Link would be most relevant and likely to be used.
24                See ECF No. 874 Ex. 2 § 3.3; Mot. at 7.
25            • Restricting developers to just a few generic template messages dictated by
26                Apple. Apple specifically instructs developers that “the language used in your
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1                app must match the template”, prohibiting any additional efforts to encourage
2                users to employ External Links. ECF No. 874 Ex. 3 (Apple-permitted
3                “Templates”); Mot. at 7.
4             • Prohibiting developers from customizing or using any “buttons” other than an
5                unobtrusive “Plain” style that does not appear to be a button, at all. See
6                Buttons, APPLE DEVELOPER BLOG (last visited Mar. 12, 2023),
7                https://developer.apple.com/design/human-interface-
8                guidelines/buttons#Platform-considerations (Apple’s “button styles”); Mot. at
9                7.
10               Even if a developer painstakingly complies with each requirement, resulting
11   in a milquetoast External Link that is unlikely to be noticed or used by consumers, the
12   Gauntlet presents one final obstacle: Apple may, in its “sole discretion”, still reject any
13   application for a Link Entitlement. ECF No. 874 Ex. 2 § 2.3. Moreover, participants in
14   developer programs such as Apple’s Video Partner Program (“VPP”) and News Partner
15   Program (“NPP”), both of which are relevant to DCN’s members, are still prohibited from
16   applying for a Link Entitlement to direct consumers to an external third-party payment
17   system. See id. § 2.1 (“You will need to request an Entitlement Profile on the Apple
18   Developer Program web portal prior to use of links from Your Application to an external
19   website for purchases. To use an Entitlement Profile, Your Application must . . . [n]ot
20   participate in the Apple Video Partner Program or News Partner Program . . . .”).
21   The “Tax”
22               Standing alone, the Gauntlet’s abstruse and burdensome requirements
23   demonstrate that Apple is not complying with the Orders in good faith, and instead
24   continues to burden and chill developers’ use of competitive external payment solutions.
25   But the Apple Plan did not stop at simply relying on the Gauntlet to chill competition.
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1    Rather, Apple, in a brazen attempt to maintain its pre-litigation ability to extract an
2    anticompetitive 30% transaction fee, recreated that fee in the form of the “Tax”.
3                 Echoing Apple’s pre-suit commission scheme, the Tax institutes fees on
4    purchases made via External Links where payment is made within a seven-day period
5    following the “link out” to the third-party payment system: 27% on all first-time charges
6    and “recurring charges”3 in the first year, and 12% on recurring charges in the second
7    year or later or charges related to a small business. See ECF No. 874, Ex. 2 § 5.1.
8    Remarkably, that fee—which represents a whopping 90% of the original abusive 30% fee
9    that led to this lawsuit—applies to any sales of “goods or services [that] can be used in an
10   Application” (regardless of whether the consumer actually does use them within an iOS
11   app) that take place on the developer’s website and are made within seven days after a link
12   out. See id. § 1 (defining “Transaction”). The Tax therefore is more than just a recreation
13   of Apple’s anticompetitive commission scheme; it is an insidious mechanism to penalize
14   developers for using External Links by giving Apple a lien on all business transacted on
15   the developer’s own website in the following week—regardless of whether such
16   transactions would ever have been made from the iOS app.
17   The “Scare”
18                Even if a developer successfully runs the Gauntlet, securing Apple’s approval
19   for a watered-down and unobtrusive External Link, and is willing to pay the Tax, Apple
20   employs yet another method to protect its anticompetitive fee structure: a mandatory
21   “Scare” message designed to threaten consumers directly and dissuade them from
22   continuing to an external payment route. The Scare, which Apple euphemistically calls an
23   “in-app system disclosure sheet”, states that Apple is not responsible for the security or
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           Unless otherwise stated, as used herein the phrase “recurring charges” refers to
27   subscription renewals.
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1    privacy of any payments outside of its system nor will stored payment methods or refunds
2    be available for such purchases. See ECF No. 874, Ex. 3. The Scare message, which is
3    reproduced below, is plainly designed to “pop up” in a manner similar to warning messages
4    about unsafe websites or files that one might see on a computer or mobile device, thereby
5    baselessly giving consumers the impression that any External Link leads to an inherently
6    unsafe transaction environment:
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22   Id.
23               The Scare message is non-negotiable, regardless of how safe a developer’s
24   external payment process actually is. Indeed, the Scare screen could even be considered to
25   be knowingly false and misleading, because Apple requires developers to implement a
26   process for subscription management and refund requests to qualify for a Link Entitlement.
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1    See ECF No. 874, Ex. 2 § 4.3. Nonetheless, Apple requires that, “[e]ach time” a customer
2    uses an external payment link, Apple’s Scare screen will pop up. ECF No. 874, Ex. 3.
3                 Taken together, the Gauntlet, the Tax and the Scare amount to a
4    comprehensive defense-in-depth of Apple’s anticompetitive fees, and are obviously
5    designed effectively to eliminate the Orders’ impact on Apple’s business model—and
6    allow Apple to continue abusing its dominant position to the detriment of DCN’s members
7    and the public.
8                                           ARGUMENT
9                 In deciding whether an injunction has been violated, courts look to the
10   “objective in issuing the injunction” and consider whether an enjoined party violated “the
11   spirit of the injunction,” even if “its strict letter may not have been disregarded.” Inst. of
12   Cetacean Research v. Sea Shepherd Conservation Soc’y, 774 F.3d 935, 949 (9th Cir. 2014)
13   (quoting John B. Stetson Co. v. Stephen L. Stetson Co., 128 F.2d 981, 983 (2d Cir. 1942));
14   see also Zest Anchors, LLC v. Geryon Ventures, LLC, 2022 WL 16838806, at *3 (S.D. Cal.
15   Nov. 9, 2022) (defendants’ “self-serving interpretation of their obligations” violated the
16   injunction); FTC v. Productive Mktg., Inc., 136 F. Supp. 2d 1096, 1108 (C.D. Cal. 2001)
17   (ordering contempt sanctions where “clear and convincing evidence that [the defendant]
18   ha[d] not substantially complied” with injunction).
19                As detailed herein, DCN has grave concerns with Apple’s new fee structure
20   and consumer experience plan as reflected in Apple’s Notice. The Apple Plan is a thinly
21   veiled attempt to skirt this Court’s Orders, which found Apple’s anti-steering restrictions
22   to be anticompetitive, because the Apple Plan uses the Gauntlet, the Tax and the Scare to
23   achieve the same result as the anti-steering restrictions that it was supposed to remedy;
24   namely, steering consumers away from payment systems via External Links in favor of
25   Apple’s IAP.
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1                  DCN, as a publishing trade organization, is particularly concerned about how
2    the Apple Plan would impact the public’s access to information and DCN’s member
3    organizations’ exercise of their free press rights. DCN’s members, which include
4    prominent publishers, news and original content providers, and press organizations, play a
5    crucial role in publishing and disseminating information to the public. A strong and vibrant
6    press is necessary for a functional, free, and open democracy, but Apple’s dominant
7    position has essentially placed Apple between the free press and the public it serves—and
8    has allowed Apple to unfairly tax and limit the free expression of DCN’s member
9    organizations and other participants in the modern press. This Court’s Orders sought to put
10   a stop to Apple’s abuses—but the Apple Plan thumbs its nose at those Orders and
11   essentially recreates, through the Gauntlet, the Tax, and the Scare, the same abuses that led
12   to the Orders in the first place.
13                 The Apple Plan is especially damaging to DCN’s members and their peers
14   because it would directly tax and undermine the ability of publishers to disseminate and
15   charge for their content at a time when the news industry is already under great economic
16   duress. Without the ability to monetize their content, these publishers’ ability to fulfill their
17   role in supporting the public welfare will be stymied.
18                 For the reasons discussed herein, DCN respectfully requests that the Court
19   grant Epic’s Motion.
20      I.      Apple’s New Fee Structure Violates the Court’s Orders.
21                 The Apple Plan is inconsistent with the Court’s Orders in several ways:
22                 First, the “Tax”—Apple’s 27% fee on payments made through External
23   Links—is a brazen attempt to neuter the Court’s Orders and insulate Apple from any
24   competitive pressure that might result in lower prices for consumers. Apple’s proposed
25   fees are cynically structured to make payments made via External Links untenable for
26   developers. Previously, when a consumer purchased a product or service using Apple’s
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1    IAP, Apple charged a 30% fee for new purchases and recurring charges in the first year,
2    and a 15% fee for recurring charges in the second year or later. Today, under the Apple
3    Plan, for purchases made via External Links Apple now charges a 27% fee for new
4    purchases and first-year recurring charges and a 12% fee for recurring charges in the second
5    year or later. These new fees amount to 90% of the fees charged by Apple for new
6    purchases and first-year recurring charges in its own app store (i.e., 27/30). However, third-
7    party payment systems outside the App Store typically charge between 2% and 4% of the
8    transaction amount plus a nominal flat fee per transaction to process payments. 4 These fees
9    are set not only to cover the service of actually handling the transaction, but also to account
10   for the risk of the transaction. 5 Apple, however, plans to charge an exorbitant fee of 27%
11   (i.e., approximately 10 times higher than typical charges by external third-party payment
12   systems) despite Apple taking no role in the transaction and providing no additional
13   benefits to consumers or developers. Thus, the Apple Plan for payments made via External
14   Links will mean that the total costs for a developer to employ an alternate payment system
15   (and, in turn, the final price for a consumer) will, at best, remain the same or, more likely,
16   increase—with Apple still getting 90% of its “cut” without even having to provide any
17   payment processing services or assume any of the associated risks.
18                Second, the “Gauntlet”—the onerous and unreasonable rules that dictate
19   every aspect of how developers may present an External Link within their apps, still
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            See, e.g., Eric Rosenberg & Bryce Colburn, What is a third-party payment
23   processor?, USA Today BLUEPRINT, Oct. 24, 2023, available at
     https://www.usatoday.com/money/blueprint/business/credit-card-processing/third-party-
24
     payment-processor/ (Last accessed on March 22, 2024).
25   5
            See, e.g., Mehdi Punjwani & Alana Rudder, What are credit card processing fees?,
     USA        Today       BLUEPRINT,        Oct.       24,    2023,      available      at
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     https://www.usatoday.com/money/blueprint/business/credit-card-processing/credit-card-
27   processing-fees/ (Last accessed on March 22, 2024).
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1    explicitly reserves to Apple the “sole discretion” to reject any External Link, thus
2    recreating the practices enjoined by the Court’s Orders. 6 Even if Apple does decide to allow
3    an External Link, the Gauntlet ensures that the link will be unobtrusive, nonspecific,
4    suspiciously vague, and not called to the user’s attention by any discernible button.
5                 Third, Apple’s required, non-negotiable “Scare” screen is designed to operate
6    as an explicit steering mechanism to steer consumers back to the IAP environment and
7    chill any competitive pressure from External Links. Apple requires that consumers who
8    succeed in finding the purchase link and clicking on it must then confront and click past an
9    alarming “in-app system disclosure sheet” Scare screen. See ECF No. 874, Ex. 3. The
10   warning screen leads with the boldface alert: “You’re about to go to an external website.
11   Apple is not responsible for the privacy or security of purchases made on the web.”
12   Id. The Scare warning frames Apple’s payment method as the norm and alternative
13   payment methods as dangerous deviations. The pop-up further warns that App Store-
14   related features, “such as subscription management and refund requests, will not be
15   available”, id., conveying the misimpression that the developer does not offer subscription
16   management and refund features of its own when, in fact, Apple requires developers to
17   implement a process for subscription management and refund requests to qualify for a link
18   entitlement. See ECF No. 874, Ex. 2 § 4.3. And although the pop-up recites the benefits
19   that consumers will lose by using an alternative to Apple’s IAP, it affords developers no
20   space to describe any benefits consumers will gain by doing so.
21                Fourth, the Gauntlet, Tax, and Scare policies are designed to, and do,
22   complement each other to accentuate the anticompetitive effects of the Apple Plan. For
23   example, Apple states in its “Scare” message to consumers that Apple will not assume
24   any liability for or make any effort to protect purchases made via External Links—while
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           See also Mot. at 5–11 (describing anticompetitive restrictions in Apple Plan).
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1    at the same time the Tax exacts exorbitant fees nominally for just such purposes, payable
2    to Apple, which has promised to do nothing to earn its fees. See Notice at 11. At bottom,
3    this “pay Apple to do nothing” policy proves two things: (1) that Apple’s pre-suit fee
4    environment was premised on abuse of Apple’s dominant position, because Apple now
5    explicitly demands 90% of its old rate in return for no consideration whatsoever; and (2)
6    that Apple has failed to comply with the letter or spirit of the Orders, and instead has just
7    put a flimsy new gloss on the very business practices that the Orders enjoined. See Rule
8    52 Order at 163.
9                 Fifth, for some developers, even submitting to the Gauntlet, Tax, and Scare
10   protocol is not an option. Under the Apple Plan, developers who participate in Apple’s
11   VPP or its NPP are still expressly prohibited from directing consumers to an external
12   third-party payment system. See ECF No. 874 Ex. 2 § 2.1. Thus, Apple appears to be
13   attempting to continue shielding some of its business offerings from further competition
14   and preventing a significant number of video and news consumers from benefiting from
15   the lower prices that such competition might bring. This prohibition is particularly
16   relevant to DCN’s member organizations who provide video and news content to the
17   public—and injures both DCN’s members and the public at large. For those members, the
18   bad old days of Apple simply prohibiting external payment links are still here.
19      II.    The Apple Plan Would Adversely Impact the Critical Press Function
20             Played by Many of DCN’s Members and Their Associated First
21             Amendment Rights.
22                In addition to violating the letter and spirit of the Court’s Orders, the Apple
23   Plan threatens to interfere with the critical role that many of DCN’s members, as publishers
24   and members of the press, play in disseminating information to the public. As the Court
25   previously stated, the purpose of its Injunction is to further the “public interest in
26   uncloaking the veil hiding pricing information on mobile devices and bringing
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                    Br. Of Amicus Curiae DCN In Supp. of Epic’s Mot. To Enforce Injunction
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1    transparency to the marketplace.” Rule 52 Order at 166. Apple’s Notice, however,
2    demonstrates that it seeks to do precisely the opposite: use the Gauntlet and the Scare to
3    prevent External Links from being used, and use the Tax to ensure that, in the unlikely
4    event an External Link is used, Apple will still take its supracompetitive fees.
5                 As Epic described in its Motion, the Apple Plan has faced condemnation from
6    broad swathes of developers and industry participants for its anti-competitive effects in the
7    market. See Mot. at 16–18. The Apple Plan will chill efforts by reputable developers,
8    including publishers and members of the press, to provide consumers with news and
9    information at lower prices.
10                In the context of trusted media outlets such as DCN’s member brands, the
11   Scare screen is particularly damaging. DCN’s members go to great lengths to earn and
12   maintain consumer trust by producing quality content and creating secure, premium
13   environments for consumers. Consumers spend billions of dollars on access to DCN
14   member websites, including many leading news websites, without similar warnings being
15   deemed necessary by the providers of web browsers, notably including Apple’s own Safari
16   web browser. Moreover, Apple requires any developer using an External Link to
17   implement a process for subscription management and refund requests to qualify for a link
18   entitlement. See ECF No. 874, Ex. 2 § 4.3. By raising the false specter of risk and
19   vulnerability before an app user can venture outside of Apple’s own ecosystem—even
20   where there is no basis to suggest that the third-party payment system is not secure, and in
21   fact Apple knows that the developer has had to take steps to ensure security and privacy—
22   Apple’s Scare popups would deter consumers from using External Links that could allow
23   developers, including publishers and news organizations, to provide access to quality
24   content at lower prices. The Apple Plan thus effectively chills the ability of DCNs’
25   members to fulfill their critical First Amendment functions as publishers and members of
26   the press.
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1                                         CONCLUSION
2                The Apple Plan falls far short of the intended effect of the Court’s Orders, and
3    would continue to impede California consumers’ ability to realize the benefits of greater
4    competition in Apple’s App Store. If allowed to stand, the Apple Plan would harm not only
5    DCN’s members and other participants in Apple’s App Store, but also the public at large,
6    which depends on Apple’s dominant platform as a vital source for information and
7    published content. Accordingly, DCN respectfully requests that the Court grant Plaintiff
8    Epic’s Motion.
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10    Dated: March 22, 2024                        Respectfully submitted,
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